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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLORADO

Civil Action No. 1:20-cv-3274-KLM

CARLOS ALBERTO CASTILLO LANDA, Individually and on Behalf of All Others Similarly
Situated,
        Plaintiff,

vs.

WESTERN UNION, LLC,
     Defendant.


                         SUPPLEMENT TO SCHEDULING ORDER

                   1. DATE OF CONFERENCE AND APPEARANCES OF
                           COUNSEL AND PRO SE PARTIES

         The Scheduling/Planning Conference was held via telephone on January 7, 2021,

commencing at 11:00 a.m. in Courtroom A-401, Fourth Floor, Alfred A. Arraj United States

Courthouse, located at 901 19th Street, Denver, Colorado. April Rhéaume of Sanford Law

Firm, PLLC, appeared on behalf of Plaintiff. Joshua Kirkpatrick of Littler Mendelson, P.C.,

appeared on behalf of Defendant. The Parties submit this Supplement to the Scheduling

Order.

         a.    4. UNDISPUTED FACTS

         The following facts are undisputed:

         •     Defendant employs two or more individuals who engage in interstate

commerce or business transactions, or who produce goods to be transported or sold in




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interstate commerce, or who handle, sell, or otherwise work with goods or materials that

have been moved in or produced for interstate commerce.

        •     Plaintiff commenced employment outside the United States in 2008 with an

affiliate of Defendant.

        •     Plaintiff became employed by Defendant when he moved to the U.S and

transferred from employment with the affiliate to employment with Defendant.

        •     Plaintiff’s employment with Defendant ended on or about September 10,

2020.

        •     Plaintiff was paid on a salary basis.

        •     Plaintiff’s direct manager during the relevant time period was James Young,

Leader, EUC (End User Computing) North America.

        •     Plaintiff’s title when he became employed by Defendant was LAN

Administrator, although the title for that role was changed to Administrator, EUC Solutions

Support.

                                 8. DISCOVERY LIMITATIONS

        e.    Other Planning or Discovery Orders

       Parties have filed a proposed Order under FRE 502(d) contemporaneously with
this Supplement.




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APPROVED:

/s/ April Rhéaume                      /s/ Joshua B. Kirkpatrick
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